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AO   91 (rev.l1/11)   Crimtml Compleint                            AUTIIORIZED AND APPROVED
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                                                                                                                                                           I




                                           United States District Court
                                                                       for the

                                                             DISTRICT OF                               OKLAHOMA

           United States of America                                )
                                                                   )
                                                                   )
                                                                   )             Case   No:      524 -STE
                                                                                              M-21-
           Cesar Alejandro Fonseca-Eehavarria,                     )
           Jose Andres Fonseca-Echavfl rria,                       )
                alkln Jay,                                         )
              a/k/a Pony,                                          )
              afl</n Andres,                                       )
           Juan Antonio Cervantes-Ontiveros,                       )
                aflr/n Juanito,                                    )
           Jerome Thor Campbell                                    )
              a/k/n Thor,                                          )
              a/k/n Tulsa,                                         )
              a/k/n OIt School,                                    )
           Osvaldo Calvillo-Oropeza,                               )
                a,{r/a Soldado,                                    )
           Felix Antonio Campa-Rios,                               )
              aflrla Toro,                                         )
           Calista Charmaine Clarlq                                )
           Dante Maxey,                                            )
              a/tr/a Dean Mack, and                                )
           Javion Jarrcl Wisby.                                    )

                                                     CRTMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           Irom on or about March of 2020,    and continuing thereafter until on or about      April of 2021, in the Western District of

Oklahoma, the dsfondants violated;

           Code       Section                                           Olfewe Description
           2l   U.S.C. $ 846                                       Conspiracy to possess with intent to distribute and to dishibute
                                                                   oottfi olled srfu stancee-namely methamphetamine, heroin, and
                                                                   fentanyl

          This criminal complaint is based on these facts: See attached Affidavit of Special Agent Ryan Belcher, Homeland Security
In'restigations, which is incorporated and made a part hereof by roference.

            E   Continued on the attached sheet.


                                                                                                            C o mpl ainant's sign   ahr   e
                                                                                                              Special Agent
                                                                                          Homeland S ecurity Investigations
Srvom to before me and signed in my presence.


Drrte:     Sep 8, 2021
                                                                                                                Judge's signalure


C;by and State: Oklaboma Citv. Oklahoma                                                         SHON T. ERWIN. U.S. Masistrate Judce

                                                                                                        P   rinted name and title
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